Case 1:25-cv-10601-MJJ   Document 71-61   Filed 03/24/25   Page 1 of 9




                         EXHIBIT 61
      Case 1:25-cv-10601-MJJ          Document 71-61         Filed 03/24/25      Page 2 of 9




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW YORK, et al.,

  Plaintiffs,
                                                           C.A. No. 1:25-cv-10601
                v.
                                                           DECLARATION OF
LINDA McMAHON, et al.,                                     DOE DECLARANT 9
  Defendants.




                          DECLARATION OF DOE DECLARANT 9
       Pursuant to 28 U.S.C. § 1746, I, Doe Declarant 9, hereby declare as follows:

       1.       I am a resident of Washington, D.C. I am over the age of 18 and have personal

knowledge of all the facts stated herein. If called as a witness, I could and would testify

competently to the matters set forth below.

       2.       This declaration is submitted in support of the States’ Request for a Preliminary

Injunction.

       3.       I am a Management Program Analyst in the Product Management Group, Chief

Technology Office of the Federal Student Aid (FSA) Office of the Department of Education

(“the Department”). I have been worked at FSA for almost 15 years.

       4.       The Product Management Division was recently created as part of reorganization

within FSA and is under the Office of the Chief Technology Officer. It had previously been

called the Office of the Student Experience and Aid Delivery (SEAD). The Chief Technology

Office essentially touches everything that is technology within FSA’s work. We correct

technological architecture, ensure security protocols are in place, and oversee the lifecycle of a
      Case 1:25-cv-10601-MJJ          Document 71-61        Filed 03/24/25     Page 3 of 9




loan on our digital products—collecting and processing borrower information, getting student

funding out the door, and making sure that loans eventually go into payment.

       5.      The responsibility of the Product Management Division is to ensure the

procedures and requirements of the Higher Education Act, as amended, and related regulations,

are followed in the digital products that FSA uses to administer federal loans. Whenever there is

an application process for a loan, for example, it must follow a certain flow to comply with the

applicable rules, which also often limit the information that can be collected. The Product

Management Division makes necessary changes to update the process as needed, resolves any

issues that arise, and monitors customer satisfaction.

       6.       My job internally is called a “product owner” in the Product Management

Division. I am responsible for making changes, improvements, and fixing bugs of any digital

product under my oversight. We divide the development operations cycle into three parts:

requirements gathering, testing, and post-implementation verification. We make sure that all the

planned-to and agreed-to changes are implemented appropriately in the digital products managed

day-to-day by contracted vendors.

       7.      The Product Management Division oversees all the digital products that are found

on Studentaid.gov. The flagship product of the Product Management Division is the FAFSA. The

FAFSA is used more than 17.6 million people each year to apply for federal financial aid and

determine the amounts for which they qualify. The FAFSA has major releases that take place

every quarter, and my division ensures that happens. Other products include the Direct PLUS

Loan application, the process for appealing adverse credit decisions, repayment plan

applications, Public Service Loan Forgiveness, Borrower Defense Loan Discharge, and other

loan and loan discharge or forgiveness applications. Critically, we also oversee the Master
      Case 1:25-cv-10601-MJJ          Document 71-61        Filed 03/24/25      Page 4 of 9




Promissory Note (MPN), the agreement between the borrower and the government to repay the

loan. If the MPN is not available, the school is not supposed to disburse the loan.

       8.      The Product Management Division is responsible for ensuring that vendors know

what requirements are needed for our products and we approve any changes. Vendors are not

subject-matter experts, so they need someone to explain the details of our processes and our

regulatory requirements. I have a graduate degree in higher education administration, so I have

deep insight into what is necessary to make our products effective, accurate, and legally

compliant.

       9.      We frequently need to resolve issues that come up in collaboration with our

vendor partners. To do so, we open tickets and work with vendors to prioritize and resolve the

problems that inevitably arise. Because we have scarce funding for our products, we often need

to oversee how to quickly and most cost effectively fix issues, and we must measure the impact

of these fixes so we can maintain necessary funding for the products.

       10.     On March 11, 2025, I received an email sent by Chief Human Capital Officer,

Jacqueline Clay, and stated, “your organizational unit is being abolished along with all positions

within the unit—including yours” (“the RIF Email”). A true and correct copy of this email is

annexed hereto as Exhibit 1 to this Declaration, dated March 11, 2025. The RIF Email also said

that I will be placed on administrative leave beginning March 21, 2025, and that I will receive an

“official RIF notice” no earlier than 30 days after March 11, 2025. I understand the

“organizational unit” referenced here to mean the entire Product Management Division.

       11.     Immediately after the RIF Email, most of my access to work systems was

removed, including the platforms that we use to store and share documents and the database that

we use to log and track tickets with our vendors. I was able to access my email but I could not
      Case 1:25-cv-10601-MJJ            Document 71-61       Filed 03/24/25      Page 5 of 9




open any links to the work systems within the emails, and I could not send any emails outside the

Department. Although I was not supposed to be on administrative leave until March 21, 2025,

there was little I could do to close out or follow up on any of my work because I did not have

access to the systems I need to do my job.

        12.     I understand that everyone in the Product Management Division received the RIF

Email but that a few people were asked to come back the following week. I do not know how

many employees in the division remain today, but it is my understanding that the vast majority of

our division is still subject to the RIF.

        13.     Based on my knowledge and experience, it is not possible for the Product

Management Division to fulfill its duties following such vast cuts to our staff. In addition to the

RIF Email, many staff left because of the various incentives offered to leave in the “fork-in-the-

road” email, Voluntary Early Retirement Authority (VERA), and the Voluntary Incentive

Separation Payment (VSIP). Without these necessary staff, the Department cannot meet its

statutory and regulatory obligations to manage federal student aid programs.

        14.     If there are insufficient people to manage FSA’s digital products, there will be

regular technological problems and inaccurate information that will impact schools and

borrowers. I am concerned for students who face great uncertainty about the impact of these

changes on their student loans.

      I declare under penalty of perjury under the laws of the United States that, to the best of

my knowledge, the foregoing is true and correct.

      Executed on March 22, 2025.




                                              _____________________________________
                                                          DOE DECLARANT 9
Case 1:25-cv-10601-MJJ   Document 71-61   Filed 03/24/25   Page 6 of 9




                   EXHIBIT 1
     Case 1:25-cv-10601-MJJ        Document 71-61       Filed 03/24/25     Page 7 of 9




Dear Colleagues,



I am writing to share some difficult news. This email serves as notice that your
organizational unit is being abolished along with all positions within the unit – including
yours. Please note, if you elected to separate under another program e.g., Deferred
Resignation Program, Voluntary Early Retirement Authority (Early-Out), or Voluntary
Separation Incentive Payment (Buy-Out), you are NOT impacted by the Reduction in
Force (RIF).


To provide you with the maximum opportunity to focus on your transition, you will be
placed on paid administrative leave starting Friday, March 21, 2025.

   ●​ Please take immediate action to review and comply with the Instructions
       for Employees Impacted by the RIF (attached). This document contains
       important information regarding access to ED facilities, transitioning your
       work, and preparing for administrative leave.


   ●​ Ensure your Principal Operating Component (POC) has your current
       mailing address, and a good personal phone number and email address to
       contact you.


   ●​ During the transition period, you will retain limited equipment and systems
       access to enable official communications regarding your RIF standing. Please
       note:
           ○​ You are only authorized to back-up your data to a network device or
               approved backup device.
          ○​ You are prohibited from storing sensitive or mission-critical data on your
              systems’ hard drive or handheld device.
          ○​ All Department of Education system resources, including hardware,
              software programs, files, paper reports, and data are the sole property of
              the Department of Education, and there should be no expectation of
              privacy.
          ○​ You are prohibited from transmitting electronic copies of Department of
              Education materials to your home or other personal accounts.
          ○​ Personnel using remote access shall not download or store Government
              information on private equipment, optical or digital media.
     Case 1:25-cv-10601-MJJ        Document 71-61       Filed 03/24/25     Page 8 of 9




          ○​ Unauthorized or improper use of this system may result in disciplinary
             action, as well as civil and criminal penalties.


   ●​ No earlier than 30 days from the date of this email you will receive your official
      RIF notice, which will begin an additional 60 days of paid administrative leave
      prior to your separation from the agency.


   ●​ This will give you a total of 90 days on paid leave to help facilitate your transition.


   ●​ Your official RIF notice will provide more detailed information on your specific
      benefits and standing and be delivered to your mailing address on file.


   ●​ You will only retain your Ed.gov email to facilitate communications with the
      agency through March 21, 2025.



ED has made the determination to initiate RIF procedures as part of the agency’s
restructuring process. These actions support Executive Order (EO) 14158,
Implementing the President’s “Department of Government Efficiency” Workforce
Optimization Initiative, dated February 11, 2025 and Office of Personnel Management
Guidance on Agency RIF and Reorganization Plans, dated February 26, 2025. This
decision is in no way a reflection of your performance or contributions, which we deeply
appreciate.

I recognize that this is a challenging moment, and my team is committed to supporting
you through this transition.


      Ø For additional information about Reductions in Force, visit the Office of
      Personnel Management RIF site.




      Ø For general questions regarding next steps, please email
      workforcereshaping@ed.gov.
     Case 1:25-cv-10601-MJJ      Document 71-61      Filed 03/24/25     Page 9 of 9




      Ø For specific retirement or benefits questions, please contact
      benefits@ed.gov.

      Ø Use the Employee Assistance Program, if needed. The Employee Assisstance
      Program (EAP) and WorkLife4You Program, provided by Federal Occupational
      Health (FOH), are available 24 hours a day, 7 days a week at 1-800-222-0364
      (TTY: 1-888-262-7848) or at www.FOH4you.com or www.worklife4you.com.

      Ø Should you lose access or need IT support, please contact the Help Desk at
      ocioenterprisehelpdesk@ed.gov; or call 202-708-HELP (202-708-4357) and
      select Option 2.


With regard,



Jacqueline Clay

Chief Human Capital Officer



Attachments:

Instructions for ED Employees Impacted by RIF

ED RIF Information and Resources

Benefits and Work/Life Email: Office Hours – Retirement Paperwork and Process
